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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

UNITED STATES OF AMERICA                     )      CRIMINAL NO.         2:20-cr-527
                                             )
                                             )
                                             )              18 U.S.C. § 2
               v.                            )              18 U.S.C. § 231(a)(3)
                                             )
                                             )
ABRAHAM ELIJAH JENKINS                       )              INFORMATION
                                             )


                                           COUNT 1

THE UNITED STATES ATTORNEY CHARGES:

       That on or about May 30, 2020, in the District of South Carolina, the Defendant,

ABRAHAM ELIJAH JENKINS, did knowingly commit acts to obstruct, impede, and interfere

with any law enforcement officer lawfully engaged in the lawful performance of official duties

incident to and during the commission of a civil disorder, which in any way and degree obstructed,

delayed, and adversely affected commerce and the movement of any article and commodity in

commerce and the conduct and performance of any federally protected function;

       In violation of Title 18, United States Code, Sections 231(a)(3) and 2.




                                             s/Peter M. McCoy, Jr.
                                             PETER M. MCCOY, JR. (el)
                                             UNITED STATES ATTORNEY
